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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION


UNITED STATES OF AMERICA


vs.                                                  2:06-cr-50-FtM-99SPC


JOSE LUIS ZALDIVAR
ORLANDO LOPEZ
ALFREDO DIAZ ROJAS
YENIER BROCHE ORTIZ
YOEL BERMUDEZ
_____________________________


                            OPINION AND ORDER

      On July 18, 2006, United States Magistrate Judge Sheri Polster

Chappell submitted a Report and Recommendation (Doc. #95) to the

Court recommending that Defendant Jose Luis Zaldivar’s Motion to

Suppress Evidence (Doc. #59), as adopted1 by defendant Orlando

Lopez (Docs. #69, #73), be denied.        Defendants Zaldivar and Lopez

filed objections (Docs. #96, #98) to the Report and Recommendation.

                                     I.

      After conducting a careful and complete review of the findings

and recommendations, a district judge may accept, reject or modify

the magistrate judge’s report and recommendation.             28 U.S.C. §

636(b)(1);    Williams v. Wainwright, 681 F.2d 732, 732 (11th Cir.



      1
      Defendant Yenier Broche Ortiz also moved to adopt the Motion
to Suppress, which request was denied for lack of standing. (See
Doc. #70.)    The Court agrees that defendant Ortiz lacks any
reasonable expectation of privacy in the matters at issue and
therefore lacks standing.
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1982), cert. denied, 459 U.S. 1112 (1983).        A district judge “shall

make a de novo determination of those portions of the report or

specified proposed findings or recommendations to which objection

is made.”      28 U.S.C. § 636(b)(1)(C).         This requires that the

district judge “give fresh consideration to those issues to which

specific objection has been made by a party.”          Jeffrey S. by Ernest

S. v. State Bd. of Educ. of Ga., 896 F.2d 507, 512 (11th Cir.

1990)(quoting H.R. 1609, 94th Cong., § 2 (1976)).               The district

judge reviews legal conclusions de novo, even in the absence of an

objection.     See Cooper-Houston v. Southern Ry. Co., 37 F.3d 603,

604 (11th Cir. 1994).

                                       II.

      The Court finds that the traffic stop of the vehicle was

lawful under Whren v. United States, 517 U.S. 806 (1996) because

the officers had probable cause to believe the driver of the

vehicle was committing the traffic infractions set forth in the

Report and Recommendation (Doc. #95, pp. 12-13).                 Defendants’

objection is overruled.

      The Court finds that the vessel was properly impounded.             The

vehicle could not safely tow the vessel because of its weight (Doc.

#80, pp. 62, 72, 121), and the vehicle and vessel could not safely

be left at the side of the very busy road (Doc. #80, pp. 70, 73).

“The authority of police to seize and remove from the streets

vehicles     impeding   traffic   or     threatening   public    safety   and


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convenience is beyond challenge.”             South Dakota v. Opperman, 428

U.S.   364,    369    (1976).     The    Court    finds    that   the      vessel’s

impoundment     was   justified   and     was    not   a   pretext    to    search.

Defendants’ objection is overruled.

       Two searches then occurred in the vessel, the inventory search

by Cpl. Amy Spotanski-Tipton and the search by Sgt. David R.

Johnson.      The Court finds that the government has not established

the inventory search was valid, but has established that the search

by Sgt. Johnson was a valid consent search.

       An inventory search may be performed on a properly impounded

vessel if it is performed pursuant to standardized criteria.

Opperman, 428 U.S. at 372-76; Colorado v. Bertine, 479 U.S. 367,

371-76 (1987); Sammons v. Taylor, 967 F.2d 1533, 1543 (11th Cir.

1992); Robinson v. State, 537 So. 2d 95 (Fla.                     1989).       “Our

decisions have always adhered to the requirement that inventories

be conducted according to standardized criteria.”                    Bertine, 479

U.S. at 374 n.6.      Thus, while it is clear that “inventory searches

are now a well-defined exception to the warrant requirement of the

Fourth Amendment,” Bertine, 479 U.S. at 371, it is equally clear

that such searches must be conducted pursuant to standardized

procedures.

       As in Khoury, “[c]onspicuously absent from the testimony at

the suppression hearing is any evidence concerning the standardized

procedures limiting the discretion of the investigating officers."

United States v. Khoury, 901 F.2d 948, 958 (11th Cir.), opinion

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modified on reh’g 910 F.2d 713 (1990).               The Court in Khoury

reluctantly found that uncontroverted testimony that the inventory

search was “routine and required” was sufficient to satisfy the

standardized    criteria   requirement.       Id.    Here,    there   was    no

testimony at all touching on any standardized criteria under which

the Collier County Sheriff’s Office conducts inventory searches.

Therefore, the government has not established that the inventory

search was lawful.     There is nothing in the record, however, which

suggests that anything observed during the inventory search was not

also observed in the consent search discussed below.

      The Court finds that the search of the vehicle by Lt. Johnson

was properly conducted pursuant to the consent of the driver.               The

consent was unrelated to the inventory, and the Court agrees with

the   Report   and   Recommendation    that   this   search    was    lawful.

Defendants’ objection is overruled.

      The Affidavit to the Search Warrant contained the following

statement: “Pursuant to a routine inventory search of the vessel,

twenty (20) individual personal floatation devices (life jackets),

along with food and drink for numerous amounts of persons.                  The

vessel appeared to have been recently at sea based upon the

observations of it being covered/caked with sea salt, and had signs

of being occupied by numerous persons.”         (Doc. #59, Exh. A, ¶ 2.)

Although the Affidavit states that these items were observed during

a “routine inventory search,” the testimony at the suppression

hearing established that Cpl. Spotanski-Tipton had nothing to do

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with the application for the Search Warrant (Doc. #80, pp. 46-47),

and   that    Special       Agent   Mullins     testified    he   received      the

information from Sgt. Johnson.               (Doc. #80, pp. 139-40.)         Cpl.

Spotanski-Tipton did not observe the life jackets, but these were

observed by Sgt. Johnson before and during his consent search,

which occurred during the inventory search.                 (Doc. #80, p. 55.)

Since all the items were lawfully observed by Sgt. Johnson, the

Court concludes that the Search Warrant was not based on the

unlawful inventory search.            The Court further finds that the

information set forth in the Affidavit established both probable

cause and a nexus to the vessel.             These objections are overruled.

      The finger prints and palm prints were lawfully observed

before and during the consent search.            (Doc. #80, pp. 114, 127-28.)

The Court finds, however, that they were not lawfully seized

pursuant to the Search Warrant.               The Affidavit stated that the

affiant believed “there is probable cause to conduct a search of

the vessel and its contents for evidence of alien smuggling in

violation of 8 U.S.C. § 1324(a)(1)(A)(I).”              (Doc. #59, Exh. A, ¶

4.)   The Search Warrant authorized by the magistrate judge was not

this expansive, however. The Search Warrant described the property

to be seized as: “evidence pertaining to alien smuggling, more

particularly described in Attachment A.”                (Doc. #59, Exh. B.)

Attachment    A    listed     the   following    four   items:    “1)   Guidance

positioning       systems    (GPS),   2)   Loran-C   navigational       aids,   3)

Navigational charts, 4) Cellular and satellite telephones.”                  (Id.)

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Thus, the Search Warrant did not authorize seizure of all “evidence

pertaining      to   alien    smuggling,”     but   only   such    evidence

“particularly described in Attachment A.”           Since fingerprints and

palm prints were not included in Attachment A, these items could

not be seized pursuant to the Search Warrant.                There was no

testimony which established that the prints were otherwise lawfully

seized.    While the government correctly argues that the initial

consent to search the vessel was unlimited, that search had long

since terminated.     The searching officer clearly testified that he

had no consent to search at the time he conducted the search

pursuant to the search warrant.         (Doc. #80, pp. 151.)

      After    reviewing     the   Report   and   Recommendation   and   the

transcript of the evidentiary hearing, the Court fully agrees with

the findings of fact and, with two exceptions, the conclusions of

law made by the magistrate judge.            Accordingly, the Court will

adopt the Report and Recommendation except as to its discussion of

the lawfulness of the inventory search and the lawfulness of the

seizure of the fingerprints and palm prints during the execution of

the Search Warrant.

      Accordingly, it is now

      ORDERED:

      1.      The Magistrate Judge’s Report and Recommendation (Doc.

#95) is accepted and adopted in part to the extent discussed above,

and it is specifically incorporated into this Opinion and Order.


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The Report and Recommendation is rejected as to the lawfulness of

the inventory search and the lawfulness of the seizure of the

fingerprints and palm prints during the execution of the Search

Warrant.

      2. Defendant Jose Luis Zaldivar’s Motion to Suppress Evidence

(Doc. #59), as adopted by defendant Orlando Lopez, is GRANTED as to

the fingerprints and palm prints seized from the vessel; and the

results of the inventory search as detailed in the Affidavit to the

Search Warrant; and is otherwise DENIED.

      DONE AND ORDERED at Fort Myers, Florida, this          16th    day of

October, 2006.




Copies:
Hon. Sheri Polster Chappell
AUSA
Counsel of Record




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